Case 2:15-cv-08048-JAK-RAO Document 87 Filed 08/02/18 Page 1 of 2 Page ID #:4001



   1
   2
   3
   4
   5
   6
   7
   8
                          UNITED STATES DISTRICT COURT
   9
                        CENTRAL DISTRICT OF CALIFORNIA
  10
                                   WESTERN DIVISION
  11
       TRADELINE ENTERPRISES PVT,               Case No. 2:15-cv-08048-JAK
  12   LTD.,                                    (RAOx)
  13                 Plaintiff,                 FINAL JUDGMENT AFTER
                                                CONFIRMATION OF
  14         v.                                 ARBITRATION AWARD
  15   JESS SMITH & SONS COTTON, LLC;
       and J.G. BOSWELL COMPANY,                JS-6
  16
                     Defendants.
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
Case 2:15-cv-08048-JAK-RAO Document 87 Filed 08/02/18 Page 2 of 2 Page ID #:4002



   1         IT IS HEREBY ORDERED, ADJUDGED, and DECREED that:
   2         1.     The Final Award signed by arbitrators J. William Rowley QC, Judge
   3   Rosemary Barkett, and David J. Beck, Esq., dated April 10, 2018, in International
   4   Centre for Dispute Resolution (“ICDR”) Case No. 01-16-0003-8669, Tradeline
   5   Enterprises Pvt. Ltd. v. Jess Smith & Sons Cotton, LLC, et. al. is CONFIRMED and
   6   Judgment is entered in favor of Jess Smith & Sons Cotton, LLC (“Jess Smith”) and
   7   J.G. Boswell Co. (“Boswell”) (collectively, “Defendants”);
   8         2.     Plaintiff Tradeline Enterprises Pvt. Ltd.’s (“Tradeline”) claims are
   9   DISMISSED WITH PREJUDICE;
  10         3.     Tradeline shall pay $2,129,000 to Boswell to reimburse it for
  11   Boswell’s costs of the arbitration, with said amount to accrue compound interest at
  12   a rate of 6% from the date of the Award, with half yearly rests, until payment;
  13         4.     Tradeline shall pay $3,525,000 to Jess Smith to reimburse it for Jess
  14   Smith’s costs of the arbitration, with said amount to accrue compound interest at a
  15   rate of 6% from the date of the Award, with half yearly rests, until payment.
  16   IT IS SO ORDERED.
  17
  18   Dated: August 2, 2018                  ______________________________
  19                                          JOHN A. KRONSTADT
                                              UNITED STATES DISTRICT JUDGE
  20
  21
  22
  23
  24
  25
  26
  27
  28
